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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION AT CHICAGO

 ARLENE A. JACKSON,                         )
                                            )
                Plaintiff,                  )
                                            )
                                            )
 v.                                         ) Case No.: 1:19-cv-07442
                                            )
 MUSIC INSTITUTE OF CHICAGO,                ) Judge Charles Norgle
                                            )
               Defendant.                   )


                        PLAINTIFF’S MOTION TO WITHDRAW ATTORNEY

       COMES NOW Plaintiff, ARLENE A. JACKSON (“Plaintiff” or “Jackson”) by and through her

attorneys, COLE SADKIN, LLC and for Motion to Withdraw Attorney, so states the following:

      1. On or about November 11, 2019 the Plaintiff filed her five (5) count complaint against

         the Defendant alleging race-based pay discrimination, violations of the IRS’ policies

         surrounding healthcare, and violations of the employment contract’s nondiscrimination

         policy. [Docket Entry #1]

      2. On or about February 14, 2020, Defendant filed its Motion to Dismiss the Complaint.

         [Docket Entry 19]. Defendant’s Response is currently due on March 13, 2020.

      3. District Courts are encouraged to allow the sealing or redacting of certain “personal” or

         “confidential” information in pleadings. As the supporting caselaw explained in Young

         v. United Parcel Service, Inc., Civil Action No. DKC 08-2586 (D. Md. Feb. 14, 2011)

         held (sealing exhibits containing “both personal employee information and certain

         sensitive corporate data”)”).

      4. There has been a subsequent breakdown in attorney-client communication and as such

         the relationship has reached irreconcilable differences.

      5. Therefore, Plaintiff’s requests that the law firm of Cole Sadkin, LLC and all of their
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       appeared attorneys are withdrawn from this matter; and that Plaintiff is allotted the

       necessary time, sixty (60) days from today’s date, up to and including May 11, 2020 in

       order to secure new representation.

    6. Plaintiff’s counsel has sent this Motion to Plaintiff for review, who has not definitively

       indicated whether she approves or disapproves of this withdrawal.

    7. Plaintiff’s counsel has sent this Motion to Defendant’s counsel, who does not oppose the

       withdrawal but would allow only thirty (30) days for Plaintiff to find new counsel.

    8. Further, to avoid an undue burden on the parties, counsel requests that all current and

       pending deadlines be stayed until which time Plaintiff has secured new representation.

    9. This Motion is not for the purposes of delay, and with the granting of such relief

       Defendants would not be prejudiced in anyway.

               WHEREFORE, Plaintiff, ARLENE A. JACKSON, by and through her counsel,

       COLE SADKIN, LLC, respectfully requests that this Court grant this Motion and (1)

       withdraw the law firm of Cole Sadkin LLC and its attorneys, and (2) allow Plaintiff sufficient

       time until May 11, 2020 in order to secure new counsel. Lastly, Plaintiff humbly requests

       any other such relief, just, proper, and equitable in the premises.

Dated: March 12, 2020                                                            /s/ Mason S. Cole
                                                                                     Mason S. Cole


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